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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
––––––––––––––––––––––––––––––––––––––– x
SHABTAI SCOTT SHATSKY, individually and :
as personal representative of the Estate of Keren :
Shatsky, JO ANNE SHATSKY, individually and :
as personal representative of the Estate of Keren :
Shatsky, TZIPPORA SHATSKY SCHWARZ, :
YOSEPH SHATSKY, SARA SHATSKY                      :
TZIMMERMAN, MIRIAM SHATSKY, DAVID :
RAPHAEL SHATKSY, GINETTE LANDO                    :
THALER, individually and as personal              : Case No. 1:18-cv-12355-MKV
representative of the Estate of Rachel Thaler,    :
MICHAEL THALER, individually and as               :
personal representative of the Estate of Rachel : Hon. Mary Kay Vyskocil
Thaler, LEOR THALER, ZVI THALER, ISAAC :
THALER, HILLEL TRATTNER, RONIT                    :
TRATTNER, ARON S. TRATTNER,                       :
SHELLEY TRATTNER, EFRAT TRATTNER, :
HADASSA DINER, YAEL HILLMAN,                      :
STEVEN BRAUN, CHANA FRIEDMAN,                     :
ILAN FRIEDMAN, MIRIAM FRIEDMAN,                   :
YEHIEL FRIEDMAN, ZVI FRIEDMAN and                 :
BELLA FRIEDMAN,                                   :
                                                  :
                               Plaintiffs,        :
                                                  :
       v.                                         :
                                                  :
THE PALESTINE LIBERATION                          :
ORGANIZATION, and THE PALESTINIAN                 :
AUTHORITY (a/k/a “THE PALESTINIAN                 :
INTERIM SELF-GOVERNMENT                           :
AUTHORITY” and/or “THE PALESTINIAN                :
NATIONAL AUTHORITY”),                             :
                                                  :
                               Defendants.        :
––––––––––––––––––––––––––––––––––––––– x

    DECLARATION OF ABBE DAVID LOWELL IN SUPPORT OF PLAINTIFFS’
     OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                       DECLARATION OF ABBE DAVID LOWELL

       I, Abbe David Lowell, hereby declare as follows:

       1.      I am a partner at Winston & Strawn LLP, counsel for Plaintiffs in this matter. I am

over the age of eighteen years old and I have personal knowledge of the matters set forth herein,

and if called upon as a witness I could competently testify thereto. I make this declaration in

support of Plaintiffs’ Opposition to the Palestine Liberation Organization’s (“PLO”) and the

Palestinian Authority’s (“PA,” collectively with PLO, “Defendants”) Motion for Summary

Judgment.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of the letter dated Sept. 9,

1993, from Yasser Arafat to Yitzhak Rabin.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of a judgment from the Tel-

Avi-Jaffa District Court in the Amos v. Bezeq matter, included with an English translated version.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a video titled “Oslo

success        was        intifada        Ziya        Abu          Ein,”        available        at

https://www.youtube.com/watch?v=HhDEK2miQHc (last accessed Oct. 4, 2021).

       5.      Attached hereto as Exhibit 4 is a true and correct copy of the Statement of Account

for Mohamed Zayd, issued by the Palestinian Ministry of Finance on June 12, 2012, included with

an English translated version.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of the Personal Annual

Report for Raed Nazal, issued by the Palestinian Ministry of Interior and National Security on

Sept. 5, 2012, included with an English translated version.




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       7.      Attached hereto as Exhibit 6 is a true and correct copy of the Security Report for

Raed Nazal, issued by the Palestinian Public Security on Sept. 9, 1999, included with an English

translated version.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of the Statement of

Payments for Sadeq Hafez’s beneficiary, issued by the Palestiniant National Authority on May 2,

2013, included with an English translated version.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of the Declaration of Arieh

Dan Spitzen, dated Oct. 3, 2021.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of the Declaration of Ronni

Shaked, dated Oct. 3, 2021.

       11.     Attached hereto as Exhibit 10 is a true and correct copy of the excerpts from the

Sept. 12, 2012 transcript of the Deposition of Ibrahim Dahbour, who was designated as a Fed. R.

Civ. P. 30(b)(6) witness for Defendants.

       12.     Attached hereto as Exhibit 11 is a true and correct copy of the excerpts from the

July 29, 2021 transcript of the Deposition of Farid Ghannam, who was designated as a Fed. R. Civ.

P. 30(b) witness for Defendants.

       13.     Attached hereto as Exhibit 12 is a true and correct copy of the excerpts from the

July 30, 2021 transcript of the Deposition of Farid Ghannam, who was designated as a Fed. R. Civ.

P. 30(b) witness for Defendants.

       14.     Attached hereto as Exhibit 13 is a true and correct copy of the excerpts from the

July 27, 2021 transcript of the Deposition of Abdel Jabbar Salem, who was designated as a Fed.

R. Civ. P. 30(b) witness for Defendants.




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       15.    Attached hereto as Exhibit 14 is a true and correct copy of the excerpts from the

July 28, 2021 transcript of the Deposition of Abdel Jabbar Salem, who was designated as a Fed.

R. Civ. P. 30(b) witness for Defendants.

       16.    Attached hereto as Exhibit 15 is a true and correct copy of the PFLP.ps publication,

titled “The Istishhad of the Commander of the Abu Ali Moustafa Brigades in Qalqilya, Raed

Nazal,” included with an English translated version.

       17.    Attached hereto as Exhibit 16 is a true and correct copy of the Ali Sadeq’s Writing,

included with an English translated version.

       18.    Attached hereto as Exhibit 17 is a true and correct copy of a video titled “The

Intifada was planned by Yasser Arafat,” published by the Palestinian Media Watch.

       19.    Attached hereto as Exhibit 18 is a true and correct copy of a video titled “Suha

Arafat The 2000 Intifada Was Premeditated, Planned by Arafat” Video, available at

https://www.youtube.com/watch?v=CZ-9vBr3q9k&t=3s (last accessed Oct. 4, 2021).

       20.    Attached hereto as Exhibit 19 is a true and correct copy of the Declaration of

Matthew Levitt, dated Sept. 27, 2021.

       21.    Attached hereto as Exhibit 20 is a true and correct copy of a report issued by the

Israel Security Agency in 2007, included with an English translated version.

       22.    Attached hereto as Exhibit 21 is a true and correct copy of Report 1 Pursuant to

Title VIII of Public Law 101-246.

       23.    Attached hereto as Exhibit 22 is a true and correct copy of the publication titled

“The Involvement of Arafat, PA Senior Officials and Apparatuses in Terrorism against Israel:

Corruption and Crime,” issued by the Israel Ministry of Foreign Affairs, on May 6, 2002.




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       24.     Attached hereto as Exhibit 23 is a true and correct copy of the publication titled

“International Financial Aid to the Palestinian Authority Redirected to Terrorist elements,” issued

by the Israel Ministry of Foreign Affairs Publication, on June 5 2002.

       25.     Attached hereto as Exhibit 24 is a true and correct copy of the Palestinian National

Authority Report on Payments for Hafez, included with an English translated version.

       26.     Attached hereto as Exhibit 25 is a true and correct copy of the Declaration of

Nimrod Guez, dated Sept. 19, 2021.

       27.     Attached hereto as Exhibit 26 is a true and correct copy of the Declaration of Itzhak

Ilan, dated Sept. 14, 2020.

       28.     Attached hereto as Exhibit 27 is a true and correct copy of a police report on

Mohamed Nazal issued by the Israel Police on May 2, 2002, included with an English translated

version.

       29.     Attached hereto as Exhibit 28 is a true and correct copy of a police report on

Mohamed Nazal issued by the Israel Police on Apr. 24, 2002, included with an English translated

version.

       30.     Attached hereto as Exhibit 29 is a true and correct copy of a publication titled

“Qaraq’i: 700 Military Prisoners Are Held Hostage In the Israeli Occupation's Jails,” issued by the

Palestinian Ministry of Detainees on Jan. 12, 2012, included with an English translated version.

       31.     Attached hereto as Exhibit 30 is a true and correct copy of a press statement titled

“Al-Ajrami: Our Prisoners Are Political and Security Prisoners and They Are Victims of Israeli

Violations,” issued by the Palestinian Ministry of Detainees on Sept. 9, 2008, included with an

English translated version.




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       32.     Attached hereto as Exhibit 31 is a true and correct copy of a publication titled

“Qaraq’i: We Must Take Action to Generate Solidarity with the prisoners’ families,” issued by the

Palestinian Ministry of Detainees on Sept. 18, 2009, included with an English translated version.

       33.     Attached hereto as Exhibit 32 is a true and correct copy of a copy of a publication

titled “Qaraq’i: We Request the Inclusion of the Prisoners of 1948, Jerusalem and the Occupied

Golan in the Exchange Deal,” issued by the Palestinian Ministry of Detainees, included with an

English translated version.

       34.     Attached hereto as Exhibit 33 is a true and correct copy of a report titled “Patterns

of Global Terrorism 2002,” issued by the U.S. Department of State in April 2003.

       35.     Attached hereto as Exhibit 34 is a true and correct copy of a publication issued by

Al-Hadaf Magazine on July 31, 2000, included with an English translated version.

       36.     Attached hereto as Exhibit 35 is a true and correct copy of the Verdict from the

Judea Miltary Court in the Ahmed Sada Yousef Abed Alrasoul matter, included with an English

translated version.

       37.     Attached hereto as Exhibit 36 is a true and correct copy of a publication issued by

Al-Hadaf Magazine in July 2001, included with an English translated version.

       38.     Attached hereto as Exhibit 37 is a true and correct copy of a report titled “Patterns

of Global Terrorism 2001,” issued by the U.S. Department of State “Patterns of Global Terrorism

2001” in May 2002.

       39.     Attached hereto as Exhibit 38 is a true and correct copy of the Decision from the

Jerusalem District Corut in the Israel vs. Aha Gholmeh matter, included with an English translated

version.




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        40.    Attached hereto as Exhibit 39 is a true and correct copy of the Death Certificate

for Sadeq Hafez, issued by the Palestinian Ministry of the Interior, included with an English

translated version.

        41.    Attached hereto as Exhibit 40 is a true and correct copy of an article titled “The

Popular Front Claims Responsibility for Karnei Shomron Fidai’i Attack,” published by Al Jazeera

News on Feb. 17, 2002, included with an English translated version.

        42.    Attached hereto as Exhibit 41 is a true and correct copy of the Translated Transcript

of the Statements of Allam Kaabi, included with the Declaration of Yaniv Berman certifying

translation, the video from which the statements derive, and the Declaration of Kelly Charles

certifying accuracy of video.

        43.    Attached hereto as Exhibit 42 is a true and correct copy of a publication regarding

Sadeq Hafez, issued by the Popular Front for the Liberation of Palestine (“PFLP”), included with

an English translated version.

        44.    Attached hereto as Exhibit 43 is a true and correct copy of a publication regarding

Shadi Nassar, issued by the PFLP, included with an English translated version.

        45.    Attached hereto as Exhibit 44 is a true and correct copy of a publication regarding

Sa’id Al-Majdalawi, issued by the PFLP, included with an English translated version.

        46.    Attached here to as Exhibit 45 is a true and correct copy of the Estate Administrator

Appointment for Rachel Thaler, included with an English translated version.

        47.    Attached here to as Exhibit 46 is a true and correct copy of the Estate Administrator

Appointment for Karen Shatsky, included with an English translated version.

        48.    Attached here to as Exhibit 47 is a true and correct copy of Yael Trattner’s birth

certificate.



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         49.      Attached here to as Exhibit 48 is a true and correct copy of the excerpts from the

Feb. 11, 2013 transcript of the Deposition of Chani Edri.

         50.      Attached here to as Exhibit 49 is a true and correct copy of the excerpts from the

Feb. 12, 2013 transcript of the Deposition of Hillel Trattner.

         51.      Attached here to as Exhibit 50 is a true and correct copy of the excerpts from the

Feb. 6, 2013 transcript of the Deposition of Leor Thaler.

         52.      Attached here to as Exhibit 51 is a true and correct copy of the Psychological

Evaluation of Leor Thaler.

         53.      Attached here to as Exhibit 52 is a true and correct copy of the Inheritance Order

for Keren Shatsky, included with an English translated version.

         54.      Attached here to as Exhibit 53 is a true and correct copy of the U.S. Passports for

Tzippora Shatsky and David Shatsky. 1

         55.      Attached here to as Exhibit 54 is a true and correct copy of the U.S. Passport for

Aron Trattner.

         56.      Attached here to as Exhibit 55 is a true and correct copy of the U.S. Passport for

Chana Freedman.

         57.      Attached here to as Exhibit 56 is a true and correct copy of the U.S. Passport for

Hillel Trattner.

         58.      Attached here to as Exhibit 57 is a true and correct copy of the U.S. Passport for

Miriam Shatsky.

         59.      Attached here to as Exhibit 58 is a true and correct copy of the U.S. Passport for

Sara Shatsky.


1
 Please note that copies of the passports (Exhibits 53 – 67) contain redactions their original scanned copies that
cannot be removed. As a result, Plaintiffs are not able to provide clean or highlighted copies.

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       60.      Attached here to as Exhibit 59 is a true and correct copy of the U.S. Passport for

Shelley Trattner.

       61.      Attached here to as Exhibit 60 is a true and correct copy of the U.S. Passport for

Steven Braun.

       62.      Attached here to as Exhibit 61 is a true and correct copy of the U.S. Passport for

Yoseph Shatsky.

       63.      Attached here to as Exhibit 62 is a true and correct copy of the U.S. Passports for

Isaac Thaler and Leor Thaler.

       64.      Attached here to as Exhibit 63 is a true and correct copy of the U.S. Passports for

Jo Anne Shatsky and Shabtai Shatsky

       65.      Attached here to as Exhibit 64 is a true and correct copy of the U.S. Passport for

Miriam Friedman.

       66.      Attached here to as Exhibit 65 is a true and correct copy of the U.S. Passports for

Yehiel Friedman and Bella Friedman.

       67.      Attached here to as Exhibit 66 is a true and correct copy of the U.S. Passports for

Zvi Friedman and Ilan Friedman.

       68.      Attached here to as Exhibit 67 is a true and correct copy of the U.S. Passports for

Zvi Thaler, Leor Thaler, and Rachel Thaler.

       69.      Attached here to as Exhibit 68 is a true and correct copy of the excerpts from the

Feb. 12, 2013 transcript of the Deposition of Ronit Trattner.

       70.      Attached here to as Exhibit 69 is a true and correct copy of the excerpts from the

Feb. 5, 2013 transcript of the Deposition of Steven Braun.




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       71.     Attached hereto as Exhibit 70 is a true and correct copy of the Decision from the

Tel Aviv-Jaffa District Court in the Goldman et al. v. Palestinian Authority matter, included with

an English translated version.

       72.     Attached hereto as Exhibit 71 is a true and correct copy of the Financial Account

Report for Raed Nazal, issued by the Palestine Liberation Organization, included with an English

translated version.

       73.     Attached hereto as Exhibit 72 is a true and correct copy of the Judgment from the

Israel Military Court of Appeals for Raed Nazal, included with an English translated version.

       74.     Attached hereto as Exhibit 73 is a true and correct copy of a Report from the Israel

Military Court of Appeals regarding Raed Nazal, issued on Aug. 23, 1990, included with an

English translated version.

       75.     Attached hereto as Exhibit 74 is a true and correct copy of the Order for

Photography Report requested by Jenin Investigations regarding victim Jamil Manatzra, included

with an English translated version.

       76.     Attached hereto as Exhibit 75 is a true and correct copy of a Forensic Report issued

by the Israel Ministry of Health regarding victim Jamil Manatzra, included with an English

translated version.

       77.     Attached hereto as Exhibit 76 is a true and correct copy of the Judgment from the

Israel Military Court on the Nuraddin Said Daoud matter, included with an English translated

version.

       78.     Attached hereto as Exhibit 77 is a true and correct copy of a publication titled

“Shahid Raed Nazal, a Man of Convictions and of Overflowing Revolutionary Faith,” issued by

PFLP on May 13, 2012, included with an English translated version.



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       79.     Attached hereto as Exhibit 78 is a true and correct copy of a publication titled

“Once there was … Raed Nazal ‘Abu al-Asir,’” issued by PFLP on Apr. 26, 2012, included with

an English translated version.

       80.     Attached hereto as Exhibit 79 is a true and correct copy of a publication titled

“Once there was … Raed Nazal ‘Abu al-Asir’,” issued by Al-Hadaf Magazine on May 15, 2012,

included with an English translated version.

       81.     Attached hereto as Exhibit 80 is a true and correct copy of the Transcript of the

Examination of Yousef Ahmad Jubran on Dec. 22, 2010 in Tel Aviv Yaffo District Court, included

with an English translated version.

       82.     Attached hereto as Exhibit 81 is a true and correct copy of a publication titled

“Courses of Action and Strategies of the Ministry of Detainees and Ex-Detainees Affairs,” issued

by the Palestinian Ministry of Detainees, included with an English translated version.

       83.     Attached hereto as Exhibit 82 is a true and correct copy of the Statement of

Payments for Mohamed Nazal, issued by the Palestinian Ministry of Detainees, included with an

English translated version.

       84.     Attached hereto as Exhibit 83 is a true and correct copy of the Statement of

Payments for Jamal Hindi, issued by the Palestinian Ministry of Detainees, included with an

English translated version.

       85.     Attached hereto as Exhibit 84 is a true and correct copy of the Statement of

Payments for Yousef Ra’i, issued by Palestinian Ministry of Detainees, included with an English

translated version.




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        86.    Attached hereto as Exhibit 85 is a true and correct copy of the Detainee’s Primary

Form for Maher Ra’i, issued by the Palestinian Ministry of Detainees, included with an English

translated version.

        87.    Attached hereto as Exhibit 86 is a true and correct copy of the Detention and

Payment Report for Maher Ra’i, included with an English translated version.

        88.    Attached hereto as Exhibit 87 is a true and correct copy of the Statement of

Payments to Margaret al-Ra’i, issued by the Palestinian Ministry of Detainees, included with an

English translated version.

        89.    Attached hereto as Exhibit 88 is a true and correct copy of a report titled “Country

Reports on Human Rights Practices for 2001,” issued by the U.S. Department of State in April

2002.

        90.    Attached hereto as Exhibit 89 is a true and correct copy of a report titled “Country

Reports on Human rights Practices for 2002,” issued by the U.S. Department of State in July 2003.

        91.    Attached hereto as Exhibit 90 is a true and correct copy of Report 2 Pursuant to

Title VIII of Public Law 101-246.

        92.    Attached hereto as Exhibit 91 is a true and correct copy of Report 3 Pursuant to

Title VIII of Public Law 101-246.

        93.    Attached hereto as Exhibit 92 is a true and correct copy of a video titled “Arafat

ran Intifada – Mazan,”, available at https://www.youtube.com/watch?v=a-WYBPmhm4c (last

accessed Oct. 4, 2021).

        94.    Attached hereto as Exhibit 93 is a true and correct copy of a publication titled “Al-

Barghouthi: The Key of the Intifada is not in My Hand, and Abu Ammar will Never Order to Stop

It,” issued by Al-Hayat al-Jadida, included with an English translated version.



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        95.      Attached hereto as Exhibit 94 is a true and correct copy of a video titled “Dahlan

– Arafat deceived the world,” available at https://www.youtube.com/watch?v=lr3-Vileiew&t=2s

(last accessed Oct. 4, 2021).

        96.      Attached hereto as Exhibit 95 is a true and correct copy of the Transcript for

Hearing Before the Congressional Subcommittee on the Middle East and South Asia, on July 11,

2002.

        97.      Attached hereto as Exhibit 96 is a true and correct copy of the Verdict from the Tel

Aviv-Jaffa District Court on the Israel v. Barghouti matter, included with an English translated

version.

        98.      Attached hereto as Exhibit 97 is a true and correct copy of the Evaluation Report

on Mohanna Halawah, issued by the State of Palestine on Apr. 27, 2010, included with an English

translated version.

        99.      Attached hereto as Exhibit 98 is a true and correct copy of a video titled “Dahlan

PA security fought Israel – hid Hamas,” available at https://www.youtube.com/watch?v=gShK-

hb_aAU (last accessed Oct. 4, 2021).

        100.     Attached hereto as Exhibit 99 is a true and correct copy of a video titled “PA forces

did           most        terrot        attacks        –         Ajrami,”         available         at

https://www.youtube.com/watch?v=k871l2SkQPM&t=4s (last accessed Oct. 4, 2021).

        101.     Attached hereto as Exhibit 100 is a true and correct copy of a video titled “Sermon

kill Jews everywhere Oct 13-00”, available at https://www.youtube.com/watch?v=uwQXBgK8qls

(last accessed Oct. 4, 2021).

        102.     Attached hereto as Exhibit 101 is a true and correct copy of the Transcript of

Speech by PLO Representative and PA Ambassador to Libya.



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       103.    Attached hereto as Exhibit 102 is a true and correct copy of a video titled “Madi –

Kill Jews Allah will make Muslims masters over Jews Aug 3-01,” available at

https://www.youtube.com/watch?v=uf9xNmfxUnw (last accessed Oct. 4, 2021).

       104.    Attached hereto as Exhibit 103 is a true and correct copy of a publication titled “In

the Fifty Third Anniversary of the Nakba,” issued by Al-Hayat al-Jadida Magazine, included with

an English translated version.

       105.    Attached hereto as Exhibit 104 is a true and correct copy of the Translated

Transcript     of      a      Video      Interview      with       Barghouti,      available      at

https://www.youtube.com/watch?v=Xw-3NyicqGU (last accessed Oct. 4, 2021).

       106.    Attached hereto as Exhibit 105 is a true and correct copy of a publication titled

“Thousands Participate in a Symbolic Funeral in Tulkarm for Shahid Mahmoud Marmash, who

Carried Out the Netanya Attack,” issued by Al-Hayat al-Jadida Magazine, included with an

English translated version.

       107.    Attached hereto as Exhibit 106 is a true and correct copy of a publication titled

“Shahida Dalal Mughrabi … Memories that Renew the Pledge to Continue the Struggle,” issued

by Al-Hayat al-Jadida Magazine, included with an English translated version.

       108.    Attached hereto as Exhibit 107 is a true and correct copy of a publication titled

“Unheeded Calls” in the Editorial of The Intifada, included with an English translated version.

       109.    Attached hereto as Exhibit 108 is a true and correct copy of a publication titled

“Honoring the Shuhada of Qalqilya in the Second Anniversary of the Istishhad of a Leader in the

Abu Ali Mustafa Brigades,” issued by Al-Hayat al-Jadida Magazine, included with an English

translated version.




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       110.   Attached hereto as Exhibit 109 is a true and correct copy of a publication on a

sporting event named after Raed Nazal, issued by Al-Hayat al-Jadida Magazine, included with an

English translated version.

       111.   Attached hereto as Exhibit 110 is a true and correct copy of a magazine publication

titled “Al Shurta,” issued by the Palestinian National Authority in Nov. 2000, included with an

English translated version.

       112.   Attached hereto as Exhibit 111 is a true and correct copy of the Monthly Bulletin

titled “They Are Asking You … About Terrorism,” published by Political Guidance for the

Border-Region Forces, included with an English translated version.

       113.   Attached hereto as Exhibit 112 is a true and correct copy of the Monthly Bulletin

titled “Ceasefire Between National Interests and International Pressures,” published by Political

Guidance for the Border-Region Forces, included with an English translated version.

       114.   Attached hereto as Exhibit 113 is a true and correct copy of a publication titled

“Humat Al-Areen,” issued by Al-Areen Institute in 2001, included with an English translated

version.

       115.   Attached hereto as Exhibit 114 is a true and correct copy of a publication titled “A

Shahid’s Letter to his Mother,” issued by Al-Hayat al-Jadida, included with an English translated

version

       116.   Attached hereto as Exhibit 115 is a true and correct copy of the email

correspondence between Abbe Lowell and Defendants’ counsel, dated Apr. 16, 2021.

       117.   Attached hereto as Exhibit 116 is a true and correct copy of the email

correspondence between Sofia Arguello and Defendants’ counsel, dated Apr. 27, 2021.




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       118.   Attached hereto as Exhibit 117 is a true and correct copy of the email

correspondence between Stephen Sinaiko and Defendants’ counsel, dated February 12, 2021.

       119.   Attached hereto as Exhibit 118 is a true and correct copy of the email

correspondence between Abbe Lowell and Defendants’ counsel, dated Apr. 23, 2021.

       120.   Attached hereto as Exhibit 119 is a true and correct copy of the email

correspondence between Sofia Arguello and Defendants’ counsel, dated Apr. 29, 2021.




       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on October 4, 2021 in New York, New York.


                                                             s/ Abbe David Lowell     __
                                                             Abbe David Lowell




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